
In re Fourth Circuit Court of Appeal, State of Louisiana; — Other; Applying For Certified Question Criminal District Court Divs. A, J, I, Nos. 476-787, 476-116, 480-666, 481-174, 482-849; to the Court of Appeal, Fourth Circuit, Nos. 2008-KA-1198, 2008-KA-1338, 2009-KA-0561, 2009-KA-0630, 2009-KA-0867.
Certification denied. This Court in State v. Tyrone Jefferson, 08-KA-2204 (La.12/1/09), 26 So.3d 112, held there was no constitutional infirmity in La.Rev.Stat. 40:966(E)(2) or (3).
